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       In the United States Court of Federal Claims
                                    No. 17-2031C
                            Filed Under Seal: May 29, 2018
                                Reissued: June 1, 2018 1

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                                    *
CENTECH GROUP, INC.,                *
                                    *
            Plaintiff,              *              Denial of Post-Award Bid Protest;
                                    *              Blue & Gold Fleet, L.P. v. United
      v.                            *              States, 492 F.3d 1308 (Fed. Cir.
                                    *              2007); 28 U.S.C. § 1491(b)(4);
THE UNITED STATES,                  *              5 U.S.C. § 706(2)(A); Denial of
                                    *              Permanent Injunction
            Defendant,              *
                                    *
      and                           *
                                    *
SALIENT CRGT, INC.,                 *
                                    *
            Defendant-Intervenor.   *
                                    *
*************************************

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San Francisco, CA.

                               OPINION AND ORDER

DAMICH, Senior Judge

       On December 26, 2017, Plaintiff Centech Group, Inc. (“Centech”) filed this post-
award bid protest challenging the decision of the General Services Administration
(“GSA” or “Agency”) to deduct 600 points from Centech’s self-score in an award of

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        The original Opinion was filed under seal. The parties have conferred as to the
necessary redactions and those redaction have been made in this public opinion.
Redacted sections appear with brackets as follows: “[. . .].”
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contracts in connection with the Alliant 2 government-wide acquisition contract
(“GWAC”) under Request for Proposals No. QTA0016JCA003 (“The RFP” or
“Solicitation”). 2 The GWAC is a Multiple Award, Indefinite Delivery, Indefinite
Quantity (“IDIQ”) contract to provide information technology (“IT”) services to a wide
variety of federal agencies. In its protest, Centech alleges that GSA abused its discretion
by failing to exercise any discretion whatsoever. Specifically, Centech alleges that GSA
acted unreasonably by deducting points from its score solely for the lack of a signature
that was beyond Centech’s control especially in light of the fact that GSA could have
verified or clarified Centech’s leading edge technology (“LET”) relevant experience
through the information it had on hand or by reaching out to the identified contracting
officers (“CO”). Centech, therefore, requests the Court to enter judgment on the
administrative record in its favor and restore its award eligibility.

        The Court adopted the litigation schedule as provided by the parties and entered
its scheduling order on January 5, 2018. Pursuant to the scheduling order, the
Administrative Record was timely filed on January 19, 2018. Defendant-Intervenor,
Salient CRGT, Inc., was granted leave to intervene on February 2, 2018. 3

        On February 9, 2018, Centech filed its motion for judgment on the administrative
record (“Pl. Mot.”). Defendant timely filed its response to Centech’s motion for
judgment on the administrative record and cross motion for judgment on the
administrative record on March 3, 2018 arguing that (1) Centech’s protest is untimely, or
in the alternative, that (2) GSA reasonably required a CO’s signature for certification of
certain projects.

      The parties timely filed their respective responses and replies with briefing
completed on March 26, 2018.

       On April 10, 2018, the Court granted defendant’s unopposed motion to
supplement the record to reflect a change in scoring to one of the awardees on the
procurement.




       2
          Centech originally filed its protest at the GAO which was dismissed on
December 20, 2017, without any decision on the merits because another bidder had
challenged the same procurement in this Court. Five other related bid protests were also
filed in this Court and assigned to the undersigned. See OBXtek, Inc. v. United States,
Case No. 17-1849C; Octo Consulting Group, Inc., v. United States, Case No. 17-2056C;
Capgemini Gov’t. Solutions LLC v. United States, Case No. 18-3C; Harris IT Services
Corp. v. United States, Case No. 18-24C; and Dynetics, Inc., v. United States, Case No.
18-481C. Two of them have since been voluntarily withdrawn. See Harris IT Services
Corp. v. United States, Case No. 18-24C at ECF No. 17; Capgemini Gov’t. Solutions LLC
v. United States, Case No. 18-3C at ECF No. 47.
       3
           Defendant-Intervenor did not participate in the briefing.
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       For the reasons that follow, the Court DENIES Centech’s motion for judgment on
the administrative record and GRANTS defendant’s cross-motion for judgment on the
administrative record.

   I.       Facts

   A. The Solicitation

       GSA first published notice of its intent to procure under the RFP in FedBizOps in
January 2014. AR at 1. GSA made its first draft RFP public in March 2015, AR at 412,
and received more than 900 comments regarding draft RFPs by December 2015. AR at
1891.

        On June 24, 2016, GSA issued the RFP. AR at 1887. The RFP provided for a 5-
year base period, one 5-year option period, and a total ceiling value of $50 billion for all
task orders. AR at 1386, 1334. The RFP further provided that GSA would issue multiple
awards to the top sixty highest-rated offerors on a best-value bases to “the highest
technically rated offerors with a fair and reasonable price.” AR at 1581-82. Offerors
were to self-score their proposals in the following categories: relevant experience; past
performance; systems, certifications, and clearance; and organizational risk assessment.
AR at 1517-80. GSA would then verify the scoring during proposal evaluation. AR at
1582. Based on the offeror’s answers, the scoring worksheet auto-calculated its score out
of a possible 83,100 points. AR at 30306. In the event of a tied score, “all Offerors
precisely tied at the 60th position will receive an award.” AR at 1582. The awardees
would then be permitted to bid on a series of fixed-price, cost reimbursement, time-and-
materials, and labor-hour task orders to provide IT services to various federal agencies.
AR at 1333.

        Relevant to this protest is the evaluation under LET relevant experience projects.
Offerors could earn points for LET relevant experience. AR at 1556. The RFP provided
for offerors to identify as many as 30 different leading edge projects by verifying up to
three previous leading edge projects in each of the following 10 areas: (1) artificial
intelligence; (1) autonomic computing; (3) big data; (4) biometrics; (5) cloud computing;
(6) cyber security; (7) health IT; (8) mobile IT; (9) the internet of things; and (10) virtual
networking. AR at 1559. It defined LETs as “highly sophisticated and cutting edge
developments in the extensive field of information technology. . . .” AR at 319.

        The RFP included the requirement that the offerors use a particular template,
Form J.P-3, to document their LET experience in accordance with section L.5.2.3.1.1 of
the RFP. AR at 1539. Under section L.5.2.3.1.1: “Any other format will be rejected as a
material non-conformity.” AR at 1539. The RFP was explicit, “[i]n order to receive
points for each submitted Leading Edge Technology Relevant Experience project . . .
[t]he completed Attachment J.P-3, Relevant Experience (Leading Edge Technology)
Project Template must be signed by a Contracting Officer (“CO”) with cognizance over
the submitted project.” AR at 1556; see also AR at 645-46 (J.P-3 form for signature).



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   B. Published Answers Regarding Signature Requirement

       In published questions and answers, the CO acknowledged the signature
requirement for verification of LET experience:

         QUESTION 15: In the event that one or more of our customers
         does not return signed J.P-2 and/or J.P-3 forms in time for proposal
         submission, will the Government please confirm that an offeror’s
         proposal will not be dismissed if there is a discrepancy between the
         LET/PSC 1-1, 1-2, 1-3 project identifier numbering on the J.P-2 and
         J.P-3 forms and the self scoring worksheet?

         RESPONSE: The Offeror may not claim points without all the
         required forms or without the proper citation signed by the client
         agency.

AR at 1935 (emphasis added).

         QUESTION 26: Will the government allow Project Identifiers
         (Attachment J.P-3, Part 1. Project Identification, 8th row) on the
         signed template to be hand corrected after the CO has signed and
         returned the completed LET template? . . .

         RESPONSE: No.

AR at1938.

         QUESTION 5: If the Contracting Officer elects to have the COR
         sign the template because they are in a better position to verify the
         technical aspect of the citation, will that be acceptable if COR email
         notification is provided to the CO by the COR that they have signed
         the LET template on their behalf? Should the Offeror submit a copy
         of the actual email with our bid?

         RESPONSE: The J.P-2/J.P-3 forms require the Contracting
         Officer’s name and contact information; however, the signature of
         the CO, or COR in lieu of the Contracting Officer, is acceptable. . .

AR at 1948.

         QUESTION 11: If the government issued a contract award with
         “signature on file” in the signature block, will GSA consider it a
         valid document for verification purposes?




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         RESPONSE: Yes, we will accept an award document presented to
         us that shows the “signature on file.” However, the J.P-2 and J.P-3
         must have actual signature, or e-signature (including CAC
         Authenticated Electronic Signature).

AR at 1957-58 (emphasis added).

         QUESTION 22: For the J.P-2, Relevant Experience (PSC Group)
         Project Template, and the J.P-3, Relevant Experience (Leading Edge
         Technology) Project Template, may a verification signature be
         provided by an individual who no longer has cognizance over the
         project (i.e., the individual has moved on to a new position in the
         Government, or left Government entirely)?

         RESPONSE: No, a current Contracting Officer/ Contracting
         Officer Representative or other recognized official with cognizance
         over the project needs to sign.

         QUESTION 23: Will the Government accept a SOW/PWS for
         verification instead of the signature of a cognizant Government
         official on the J.P-2 or J.P-3?

         RESPONSE: Signatures are generally required for J.P-2. The only
         exception that a signature is not required on the J.P-2 is when the
         FPDS-NG Report is Available, Complete and Accurate.
         Signatures are required for ALL J.P-3 templates.

AR at 1970 (emphasis added).

         QUESTION 24: In Section L.5.2.3.1.1 the RFP states “NOTE: If
         Attachment J.P-3 ... requires a signature”. In what circumstances
         does the J.P-3 require a signature?

         RESPONSE: Attachment J.P-3 templates always require a CO/COR
         signature pursuant to L.5.2.3.1.1 . . .

         QUESTION 28: If a project being submitted for the Leading Edge
         Technology Relevant Experience has an accurate FPDS report and
         current CPAR report, will the government consider removing the
         requirement for Attachment J.P-3 to be signed by the Contracting
         Officer?

         RESPONSE: No. A completed Attachment J.P-3 with a signature is
         always required. No exceptions. See all subsections under Section
         L.5.2.3.



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          QUESTION 29: In cases for our DoD customers can the
          Verification of LET Relevant Experience J.P-3 be signed by the
          Senior Agency Program Director in charge?

          RESPONSE: No, only a cognizant CO or COR can sign the
          verification.

AR at 1971 (emphasis added).

   C. Proposal Submission, Evaluation, and Award

        Centech timely filed its proposal in response to the RFP, along with 169 other
offerors. AR at 30306. In its proposal, Centech included a number of J.P-3 Forms
regarding its LET experience. See AR at 25490-26876. With respect to one past contract,
Centech attached an email from an Air Force CO who declined to sign the J.P-3 Form
because he “ha[d] not been the contracting officer on this effort for four years.” AR at
25951. Centech was likewise unable to include a CO’s signature for a Department of
Transportation (DOT) project, as the CO failed to respond to any of Centech’s requests.
AR at 25604-25608. In lieu of signatures for these two projects, Centech attached
documents showing it made efforts to obtain the required signatures. AR at 25606-
25613. Even without the required signatures, Centech added these two projects to its
technical self-score culminating in a total score of [. . .]. AR at 30333. GSA deducted
600 points from the proposal for these two LET projects that did not have the required
signature, resulting in a final technical score of [. . . ]. AR at 30333-34.

        GSA named a total of 61 awardees, with a tie occurring at slot numbers 59
through 61. AR at 30306. The awardee technical scores ranged 83,100 to 73,600 at slots
59, 60, and 61, and any technical score below 73,600 was ineligible for award. AR at
30306.

   II.     Legal Standards

        The Court has jurisdiction under the Tucker Act, 28 U.S.C. section 1491(b)(1).
The Tucker Act, as amended by the Administrative Disputes Resolution Act of 1996, 28
U.S.C. section 1491(b)(1), grants this Court exclusive jurisdiction to “render judgment on
an action by an interested party objecting to a solicitation by a Federal Agency for bids or
proposals for a proposed contract or to a proposed award or the award of a contract or
any alleged violation of statute or regulation in connection with a procurement or
proposed procurement.” 28 U.S.C. § 1491(b)(1). Under the Tucker Act, an “interested
party” includes an actual or prospective offeror whose direct economic interest would be
affected by or which has suffered a non-trivial competitive injury or prejudice as a result
of the alleged error. Sys. Application & Tech., Inc. v. United States, 691 F.3d 1374, 1382
(Fed. Cir. 2012).

        The Court sustains procurements so long as the action was not arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law. 28 U.S.C. §

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1491(b)(4); 5 U.S.C. § 706(2)(A); Impresa Construzioni Geom. Domenico Garufi v.
United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001); see also Citizens to Preserve
Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), overruled on other grounds,
Califano v. Sanders, 430 U.S. 99 (1977); Ramcor Servs. Group, Inc. v. United States, 185
F.3d 1286, 1290 (Fed. Cir. 1999).

        In reviewing the Agency’s procurement decisions, the Court recognizes that the
decision is entitled to a “presumption of regularity,” Citizens to Preserve Overton Park,
401 U.S. at 415 (citations omitted), and that the Court should not substitute its judgment
for that of the agency. Redland Genstar, Inc. v. United States, 39 Fed. Cl. 220 (1997);
Cincom Systems, Inc. v. United States, 37 Fed. Cl. 663, 672 (1997); see also M.W.
Kellogg Co. v. United States, 10 Cl. Ct. 17, 23 (1986) (holding that “deference must be
afforded to an agency’s . . . procurement decisions if they have a rational basis and do not
violate applicable law or regulations.”). The disappointed bidder “bears a heavy burden,”
and the CO is “entitled to exercise discretion upon a broad range of issues.” Impresa,
238 F.3d at 1332 (citations and quotes omitted). “An agency’s decision will be upheld so
long as it was not ‘clearly erroneous,’ and there was a rational basis for the decision.”
Int’l Res. Recovery, Inc. v. United States, 64 Fed. Cl. 150, 161 (2005) (quoting Gulf
Group Inc. v. United States, 61 Fed. Cl. 338, 353 (2004)). Furthermore, the Court must
give the procuring agency considerable deference in matters requiring technical
judgment. Benchmade Knife Co., Inc. v. United States, 79 Fed. Cl. 731, 740 (2007)
(“Agencies are entitled to considerable discretion and deference in matters requiring
exercise of technical judgment.”).

         The Federal Circuit has held that challenges to the terms of a solicitation itself, as
opposed to the evaluation of proposals responding to a solicitation, must occur prior to
the deadline for receipt of proposals when these are based on alleged patent errors. Blue
& Gold Fleet, L.P. v. United States, 492 F.3d 1308, 1313 (Fed. Cir. 2007). A party's
failure to do so is a waiver of its ability to raise the same objection in a bid protest action
in this Court. Id. at 1313. “This doctrine was established to prevent contractors from
taking advantage of the government, protect other bidders by assuring that all bidders bid
on the same specifications, and materially aid the administration of government contracts
by requiring that ambiguities be raised before the contract is bid, thus avoiding costly
litigation after the fact.” Id. at 1313-14 (citing Cmty. Heating & Plumbing Co. v. Kelso,
987 F.2d 1575, 1580 (Fed. Cir. 1993)).

         Therefore, a preliminary question to address in considering plaintiff's protest is
the nature of the challenge brought—in other words, whether the terms of the Solicitation
itself, or the Agency evaluation of Centech’s proposal, is being challenged.

   III.    Discussion

           A. Has Centech Waived its Right to Protest?

        Blue & Gold Fleet, teaches “that a party who has the opportunity to object to the
terms of a government solicitation containing a patent error and fails to do so prior to the
close of the bidding process waives its ability to raise the same objection subsequently in
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a bid protest action in” this Court. 492 F.3d at 1313. Moreover, an unsuccessful bidder
may not re-write the solicitation to suit its needs in a post-award protest after sleeping on
its rights before bidding. Id. at 1314.

        In its opening brief, Centech admits that it knew that its bid did not meet the
signature requirement for two LET projects. Pl.’s Mot. at 3-5. Centech further states that
“[t]he RFP unambiguously states that bidders would not receive points in connection with
their claimed LET experience unless the form was signed by either the CO or COR.” Id.
at 3. As well, Centech acknowledges that by including this provision, GSA “invoked a
formal requirement” in the solicitation, albeit “a formal requirement that served no
purpose.” Pl.’s Reply at 4. These admissions, advance the government, compel a finding
that Centech’s claims are barred under Blue & Gold Fleet. Def. Reply at 1-2.

        Centech argues that there is no ambiguity in the Solicitation; but by Centech’s
own admission, it admits that it did not know whether the documents it submitted in lieu
of the signed J.P-3 Form would be accepted. See Pl.’s Reply at 4 (“[Centech] did not
know whether the Government would accept documentation it submitted of its efforts and
whether it would factor in [its] complete lack of control over the other governmental
agency’s action.”). Even so, Centech argues that it is not challenging the solicitation
terms but “it is challenging the Government’s conduct during evaluation.” Pl.’s Reply at
4. Thus, Centech maintains that it is the lack of Agency action with the documents that
formulates the basis of its challenge. Id.

        Although Centech attacks the reasonableness of the requirement, it admits that
there is no ambiguity. The thrust of its brief is that the Agency applied the requirement
rigidly, indeed, “robotically.” On balance, the Court concludes that Centech is
challenging the conduct of the Agency during the evaluation, not the terms of the
solicitation. The Court, therefore, disagrees with the government’s characterization of
Centech’s challenges and the challenges are timely as a post-award protest.

      The Court must, therefore, address the merits of the protest, i.e., were the
Agency’s actions reasonable?

           B.   Was GSA’s Signature Requirement Reasonable?

        In general, COs conducting negotiated procurements award contracts to
“responsible offeror[s] whose offer conforming to the solicitation will be most
advantageous to the Government, price and other factors considered.” 48 C.F.R. §
52.212-2(a) (emphasis added). Indeed, awards based on non-conforming proposals may
“violate[] the procurement statutes and regulations.” E.W. Bliss Co. v. United States, 77
F.3d 445, 448 (Fed. Cir. 1996) (citations omitted).

        The facts are simple in this case. The RFP stated “. . . Project Template must be
signed by a Contracting Officer (“CO”). . . .” AR 1556 (emphasis added). Not only was
the language clear, the signature requirement was reinforced through extensive answers
and questions regarding the J.P-3 Form. See supra Section I.B. Centech knew that its

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proposal did not meet the J.P-3 Form signature requirement with two of its LET projects.
By attaching the email requests to those COs in lieu of the signatures, Centech tried to
overcome its deficiency. Thus, there is no argument that Centech did not have the
required signatures and did not conform to the solicitation. Yet, it is Centech’s position
that the Agency’s point deduction for lack of signatures served no rational basis. Pl. Mot.
at 7-8. Additionally, Centech argues that the Agency’s failure to exercise discretion by
verifying or clarifying its concerns was an abuse of discretion. Pl. Mot. at 9. And finally,
Centech argues that the Agency acted arbitrarily when it elevated form over substance.
Pl. Mot. 12-14. The Court disagrees with Centech for the following reasons.

       1. There was a rational basis.
        Centech alleges that the signature requirement did not serve any actual purpose or
rational basis. However, the government provided several reasons for the solicitation’s
signature requirement. Specifically:

          ● The CO for each previous project was in the best position to
          objectively assert whether a past IT project actually qualified under
          the RFP’s definitions of the LET categories.

          ● The CO signature was necessary because the relevant CO or COR
          is the individual most qualified to make that determination.

          ● The most reliable and accurate arbiter of a given project’s
          qualification under a given LET category is the CO or COR
          responsible for that project.

Gov. Mot. at 8-9. These reasons provide ample support for the signature requirement in
order to verify LET experience.

        Furthermore, the RFP defined LETs as “highly sophisticated and cutting edge
developments in the extensive field of information technology . . . .” AR at 319.
Therefore, when there are engineering and scientific considerations, it has been held that
when a court is reviewing an agency’s technical expertise and experience, “it should
defer to [the Agency’s] analysis unless it is without substantial basis in fact.” Cube Corp.
v. United States, 46 Fed. Cl. 368, 375 (2000) (quoting Federal Power Comm’n v. Florida
Power & Light Co., 404 U.S. 453, 463, reh’g denied, 405 U.S. 948 (1972)). Thus,
verification of LET experience was reasonable and in accordance with an RFP seeking
specialized technical knowledge.

       2. GSA reasonably exercised its discretion.

       Centech further argues that the Agency failed to exercise discretion by verifying
its LET projects. Pl. Mot. at 9. Furthermore, Centex argues if the Agency had any
questions or concerns about its LET experience it was obligated to clarify its concerns.
Id.


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        The RFP contemplated clarification, stating: “The Government may conduct
clarifications, as described in FAR § 15.306(a).” AR at 1582. However, the government
has wide discretion in determining whether a clarification should be sought. Even so, “a
contracting officer’s actions can still be arbitrary and thus not substantially justified.”
BCPeabody Constr. Servs., Inc. v. United States, 112 Fed. Cl. 502, 512 (2014).

        Here, the Agency did not verify or ask for clarifications regarding the two LET
projects claimed by Centech and rejected for points by the Agency. It is Centech’s
position that the Agency was “obligated to exercise its discretion and do something.” Pl.
Mot. at 12. In support, Centech argues that in this same procurement, after the bids were
submitted and in the context of past performance evaluations, the Agency acted
reasonably by waiving an email requirement regarding past performance finding that the
requirement did not serve any purpose. Pl. Mot. at 11. Because the past performance
email requirement was not necessary for the relevant analysis and because a deduction
for other than negative performance would be unfair and unreasonable, compliance was
waived by the Agency. Pl. Mot. at 11-12.

       Thus, it is Centech’s argument that the signature requirement for the J.P-3 Forms
was similar to the waived email requirement in that the signatures did not provide any
additional relevant data points. Pl. Mot. at 12. Centech further argues that because the
Agency knew that it had not been at fault in not obtaining the signatures, 4 the Agency
was obliged to take some action. Id. For instance, Centech argues that the requirement
could have been waived; the Agency could have independently verified the LET
experience by contacting the CO or another agency representative; the Agency could
have asked for additional information from Centech as a clarification; or the Agency
could have looked at alternate information available to it. Id.

        The RFP directed bidders to “attach verification documents . . . Any other format
will be rejected as a material non-conformity. NOTE: The Offeror must substantiate all
the information through the verification method identified in Section L.5.2.3.1.1.” AR at
1539 (emphasis added). Consequently, the RFP placed the burden on the offerors to
provide the verification of its LET experience by requiring the signature. This

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         Centech asserts that it made many “continued” and “substantial,” attempts to get
the required signatures. Pl. Resp. at 2. However, the record shows that Centech did not
begin seeking signatures from COs until shortly before bids were due. For LET 1-3,
Centech initiated its efforts with an email to the Department of Transportation on
September 28, 2016, only 10 business days before the solicitation closing date. AR at
25612. A few more emails followed, all sent on the eve of, or just following, the end of
the busiest time of year for any Federal Government contracting office. AR at 25606-12.
With respect to LET 6-2, the record indicates that Centech started its request for signature
with an email dated September 29, 2016; again, on the eve of the end of the fiscal year.
AR at 25952. Thereafter, Centech followed up with two more emails in early October,
on the eve of the proposal due date. AR at 25952-53. Thus, the record clearly indicates
that Centech waited to last the minute to get the required signatures and the Court cannot
agree with Centech that its efforts were “substantial.”

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requirement was reasonable. For instance, Centech provided a number of J.P-3 Forms
with its bid. See AR at 25277-26902. In addition, the other 169 bidders provided at least
some forms. See, e.g., AR Index, (identifying LET forms for bidders included in the
AR). If GSA waived the signature requirement for the LET projects, this would shift the
burden onto the COs to review possibly thousands of contracts performed by the 170
bidders and to contact COs for those contracts to obtain those COs’ views as to whether
the contracts were “leading edge” under one or more of 10 categories. Instead, it was a
reasonable requirement that bidders prove that they have “leading edge” experience by
obtaining signatures from COs on their own contracts. Thus, GSA reasonably exercised
its discretion by requiring the signatures in order to capture the LET points.

          3. GSA did not act arbitrarily with form over substance.
         Centech appears to contend that the Agency should have waived the signature
requirement. Pl. Mot. at 3. Centech argues that by requiring the signatures, signatures
that it could not obtain, the Agency put “form over substance.” Pl. Mot. at 13-15. This
argument must fail. If GSA waived the signature requirement for Centech, not only
would it be contrary to the RFP signature requirement, it would now be unreasonable and
unfair to all of the other bidders, some of whom may have complied with the solicitation
and not included in their bids past projects that were not verified through CO signatures.
Centech was on notice, and it was clear from the answer and questions, that failure to
comply with the Solicitation LET project requirements would be “a material non-
conformity.” AR at 1539. Thus, a bidder who followed the RFP directions would not
have included pages in its bid that it knew would be rejected. The Court, therefore, holds
that the Agency did not act arbitrarily when it required that the LET experience projects
required the CO’s signature.

    IV.      Denial of Permanent Injunctive Relief

        In order to establish that it is entitled to permanent injunctive relief, the plaintiff
must establish actual success on the merits. The foregoing analysis reveals that there is
no basis upon which to grant Centech’s motion for judgment on the administrative
record. As such, Centech has failed to establish an entitlement to injunctive relief, i.e., it
has failed to show actual success on the merits.

    V.       Conclusion

      For the reasons set forth above, the Court DENIES Centech’s motion for
judgment on the administrative record and GRANTS defendant’s cross motion for
judgment on the administrative record. The Clerk shall enter judgment accordingly.

          IT IS SO ORDERED.

                                                                s/ Edward J. Damich
                                                                EDWARD J. DAMICH
                                                                Senior Judge


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